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Exhibit 3
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Byrne-Sutton Bollen Kern

Mr Joseph P. Goldberg
Partner

Hodgson Russ LLP

1540 Broadway, 14" Floor
New York, NY 10036
U.S.A.

By registered mail, email and fax
{+1 646.943.7070) - 1 page

Christopher Bollen

Attorney-at-Law

Geneva, 13 October 2016
CBlab

 

Case No. 18796/GZ/MHM
ALBTELECOM SH.A / UNIFI COMMUNICATIONS, INC

Dear Colleague,

| refer to the Award by Consent of 2 September 2015 (“the Award”) in the above
referenced case.

As you know, according to the dispositive part of the Award, UNIFI
COMMUNICATIONS, INC (“UNIFI") was required to pay monthly instalments of
EUR 28,000 each in accordance with the schedule on pages 38ff of the Award.
Unfortunately, after having paid the November instalment at the end of
December 2015, UNIFI COMMUNICATIONS, INC failed to make any further
payments.

Consequently, ALBTELECOM SH.A hereby puts UNIFI on notice to pay the
instalments for the months of December 2015 to September 2016 (i.e.
instalments No. 4 to 13 as per the schedule of the Award) each in the amount of
EUR 28,000 within 15 business days from the date of receipt of the present
notice.

Should UNIFI fail to pay any of the aforementioned instalments within the
15-day notice period, ALBTELECOM SH.A claims the amount of EUR 2.1
million plus interests minus any payments made to date, without further notice
pursuant to Section 12, page 41 § 118 (ii) of the Award,

Yqursssincerely,

ristopher Boilen

5, rue de |Matel-deVWile 1204 Geneva Switzerland T+d4!) 22318 5636 F.+4)22 385650 www.advise.ch
